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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION
UNITED STATES OF
AMERICA,
                                   CASE NO.

JORGE ENRIQUE VALENCIA-
VERGARA.




                                   ORDER

      This cause is before the Court on:

      Dkt. 70 Motion to Dismiss Indictment
      Dkt. 76 Response
      Dkt. 80 Report and Recommendation
      Dkt. 114 Objection
      Dkt. 125 Transcript
      Dkt. 155 Objections
      Dkt. 156 Motion for Hearing

 Dkt. 70 Motion to Dismiss Indictment

       Defendant Valencia-Vergara moves for dismissal of the
 indictment due to outrageous government conduct.         The United
 States opposes the Motion.      The assigned Magistrate Judge
 conducted an evidentiary hearing, and issued a Report and
 Recommendation recommending the denial of Defendant's Motion.


       The Court has independently examined the record, and has
 considered the objections to the Report and Recommendation.
 Defendant does not object to the factual findings, but does
 object to the conclusion that Defendant's Motion should be
 denied.   Defendant contends that additional evidence has been
 brought to light in the evidentiary hearing on the motion filed
 by co-Defendant Henry Lerma.
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      Defendant specifically objects to the conclusion of
Magistrate Judge McCoun that this case "does not involve the type
of outrageous governmental misconduct theorized in Russell, and
does not call for dismissal under the Sixth Amendment."
Defendant argues that this case involves a long investigation
resulting in a large string of arrests and prosecutions, and the
conduct of the SA Faria in creating a conflict between Defendant
and his counsel is unconscionable.


      The Court has considered the totality of the circumstances
 in reviewing the facts of this case.       The Court finds that the
 actions of SA Faria and the other governmental agents involved
were reprehensible.       To expect this Court to believe Agent
 Faria's testimony that his continuing contacts with Defendant
were done out of sympathy for Defendant's plight is insulting.
The Court is well aware that the conduct of governmental agents
 in this case undermined the attorney-client relationship.
However, the Court recognizes that the conflict between Defendant
 and his counsel has now been resolved.        Defendant abandoned his
 request for new counsel.      The remedy for the acquisition of
 evidence in violation of a defendant's constitutional rights is
 suppression rather than dismissal of the indictment.          Since the
 Government agrees not to use any such evidence in its case-ln-
 chief, suppression is not necessary.


      After consideration, the Court overrules Defendant's
 objections, and adopts the Report and Recommendation, which is
 incorporated herein by reference. Accordingly, it is
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      ORDERED that Defendant's objections are overruled, the
Report and Recommendation is adopted, and the Motion to Dismiss
Indictment is denied.


Dkt. 156 Motion to Schedule Evidentiary Hearing


      Defendant moves for an additional evidentiary hearing before
the undersigned because additio~alevidence was brought out
before the Magistrate Judge which requires further examination in
 the form of witness testimony of a co-Defendant, Henry Lerma, and
other federal agents, Lincoln Benedicto, Gregory Brenza, and Nick
Turzu, who participated in the events described in the Report and
Recommendation.     The Court notes that the transcript of that
proceeding has been filed, and its contents have not altered the
Court's conclusion as to Defendant.


      Defendant does not object to the factual findings of the
Report and Recommendation, but does object to the legal
 conclmion, and argues that an evidentiary hearing will clarify
 the prejudice to Defendant's right to a fair trial.


      The existence of outrageous governmental conduct is to be
 determined by the totality of the circumstances, with nc single
 factor controlling.     The defense of outrageous governmental
 conduct can only be invoked in the "rarest and most outrageous
 circumstances." See U.S. v. Haimowitz, 725 F.2d 1561 (11'" Cir.
 2984) (quoting U.S. v. Tobias, 662 F2d 381, 387 (5'" Cir. 1981) ,
 cert. denied, 457 U.S. 1108 (1982)). In issuing the Report and
 Recommendation, Magistrate Judge McCoun was aware of the
 involvement of additional agents in the events which triggered
 Defendant's Motion to Dismiss.      At the commencement of the
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evidentiary hearing, Magistrate Judge McCoun determined that
Defendant and his appointed counsel had resolved any conflict
between them, and Defendant Valencia-Vergara did not want another
attorney to be appointed to represent him.         The Government has
agreed that any statement by Defendant, if it exists, will not be
used against Defendant.       Defendant has not explained how
Defendant has suffered any prejudice due to the conduct of agents
of the Government, whatever that conduct may have been.           Unless
Defendant identifies some additional prejudice of which the Court
 is not aware at present, the taking of additional evidence would
merely be cumulative.


         In Amlonq & Amlonq v. Dennvfs, Inc., 457 F.3d 1180, 1195
 (11''   Cir. 2 0 0 6 ) , the Eleventh Circuit Court of Appeals states:

              When a district court refers a matter to a
              magistrate judge to conduct an evidentiary
              hearing and make find,ingsof fact, the
              district court is required to make a 'de novo
              determination' . (citation omitted) . In
              making its determination, the district court
              is generally free to employ the magistrate
              judge's findings to the extent it sees
              fit-the court may adopt the magistrate
              judge's findings in whole, in part, or not at
              all. Thus, in United States v. Raddatz, 447
              U.S. 667 (1979), the Supreme Court made clear
              that Sec. 636 (b) (1) permits the district
              court to adopt the credibility findings made
              by a magistrate judge without conducting a
              new hearing before making a final
              determination. However, in a footnote, the
              Supreme Court remarked that there may be one
              exception to this rule. The statute may not
              permit a district court to reject a
              magistrate judge's findings regarding the
              credibility of a testifying witness without
              holding a new hearing where it could observe
              the demeanor of the witnesses.
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       Title 28 U.S.C. Sec. 636 (b)(1)C provides that "a judge of
 the court shall make a de novo determination of those portions of
 the report or specified proposed findings or recommendations to
 which objection is made.      A judge of the court may accept,
 reject, or modify, in whole or in part, the findings or
 recommendations made by the magistrate judge.         The judge may also
 receive further evidence or recommit the matter to the magistrate
 judge with instructions.


       In this case, the Court has considered the Report and
 Recommendation, and has adopted it. The Court has not modified
 the findings of Magistrate Judge McCoun, and has accepted the
 credibility determinations of the Magistrate Judge. Accordingly,
 it is


       ORDERED   that the Motion to Schedule Evidentiary Hearing is
 denied.


           NE and ORDERED in Chambers, i n Tampa, Florida on this
             of January, 2007.




 Copies to:
 All parties and counsel of record
